                     Case 19-11466-MFW                Doc 4209         Filed 08/29/22         Page 1 of 2




                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF DELAWARE

In re:                                                             )   Chapter 11
                                                                   )
CENTER CITY HEALTHCARE, LLC d/b/a                                  )
HAHNEMANN UNIVERSITY HOSPITAL, et                                  )   Case No. 19-11466 (MFW)
al.,1                                                              )
                                                                   )   Jointly Administered
                                        Debtors.                   )
                                                                   )   Related to Docket Nos. 4128, 4129 and 4130
                                                                   )

          NOTICE OF FILING OF REVISED PROPOSED ORDER APPROVING
      MEMORANDUM OF UNDERSTANDING RE GLOBAL SETTLEMENT AMONG,
       INTER ALIA, DEBTORS, DEBTORS’ SUBSIDIARIES, COMMITTEE, TENET,
       CONIFER, MBNF PARTIES, HSRE ENTITIES AND CONA PARTIES, WHICH
      PROVIDES FOR, INTER ALIA, RESOLUTION OF ADVERSARY PROCEEDINGS,
          WITHDRAWAL OF CLAIMS, ALLOCATION AND DISTRIBUTION OF
       ASSETS FROM RRG AND CONSENSUAL SUBSTANTIVE CONSOLIDATION
              OF CERTAIN ASSETS, CONTRACTS AND LIABILITIES OF
        NON-DEBTOR BROAD STREET PROPCOS WITH DEBTOR CENTER CITY
              HEALTHCARE, LLC, AND GRANTING RELATED RELIEF


          PLEASE TAKE NOTICE that on August 8, 2022, the above-captioned debtors and
  debtors in possession (the “Debtors”) filed, under seal, the Debtors’ Motion for Orders
  (I) Approving Memorandum of Understanding Re Global Settlement Among, Inter Alia, Debtors,
  Debtors’ Subsidiaries, Committee, Tenet, Conifer, MBNF Parties, HSRE Entities and CONA
  Parties, Which Provides For, Inter Alia, Resolution of Adversary Proceedings, Withdrawal of
  Claims, Allocation and Distribution of Assets from RRG and Consensual Substantive
  Consolidation of Certain Assets, Contracts and Liabilities of the Non-Debtor Broad Street
  PropCos with Debtor Center City Healthcare, LLC, and Granting Related Relief; and
  (II) Approving Related Settlement Agreement and Release with Travelers Casualty and Surety
  Company of America [Docket No. 4128] (the “Motion”) with the United States Bankruptcy Court
  for the District of Delaware (the “Bankruptcy Court”).


  1
               The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number,
               are: Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St.
               Christopher’s Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of PA,
               L.L.C. (1617), SCHC Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care Center,
               L.L.C. (6447), SCHC Pediatric Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast Pediatrics,
               L.L.C. (4056), TPS of PA, L.L.C. (4862), TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C. (5536), TPS
               IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C. (5540). The Debtors’ mailing address is 216 N. Broad
               Street, 4th Floor, Philadelphia, Pennsylvania 19102.




  40431667.1
                   Case 19-11466-MFW               Doc 4209          Filed 08/29/22      Page 2 of 2




       PLEASE TAKE FURTHER NOTICE that attached to the Motion at Exhibit A was the
Proposed MOU Order2.

      PLEASE TAKE FURTHER NOTICE that attached hereto as Exhibit A is a revised
Proposed MOU Order (without exhibit). Attached hereto as Exhibit B is a “redline” version of
Proposed MOU Order reflecting changes from the order filed with the Motion.

Dated: August 29, 2022                                   SAUL EWING ARNSTEIN & LEHR LLP

                                                     By: /s/ Mark Minuti
                                                        Mark Minuti (DE Bar No. 2659)
                                                        Monique B. DiSabatino (DE Bar No. 6027)
                                                        1201 N. Market Street, Suite 2300
                                                        P. O. Box 1266
                                                        Wilmington, DE 19899
                                                        Telephone: (302) 421-6840
                                                        mark.minuti@saul.com
                                                        monique.disabatino@saul.com

                                                             -and-

                                                         Jeffrey C. Hampton
                                                         Adam H. Isenberg
                                                         Centre Square West
                                                         1500 Market Street, 38th Floor
                                                         Philadelphia, PA 19102
                                                         Telephone: (215) 972-7777
                                                         jeffrey.hampton@saul.com
                                                         adam.isenberg@saul.com

                                                         Counsel for Debtors and Debtors in Possession




2
             Capitalized terms not defined herein shall have the same meaning as set forth in the Motion.



                                                            -2-
40431667.1
